     Case 2:20-cv-00078-LGW-BWC Document 14 Filed 09/25/20 Page 1 of 4
                                                                                                  FILED
                                                                                       John E. Triplett, Acting Clerk
                                                                                        United States District Court

                                                                                    By mgarcia at 3:40 pm, Sep 25, 2020
                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF GEORGIA
                               BRUNSWICK DIVISION


 JANICE THERESA DOLLAR, as personal
 representative of the Estate of Michael Lamar
 Dollar, and individually,

                Plaintiff,                                   CIVIL ACTION NO.: 2:20-cv-78

         v.

 MONSANTO COMPANY,

                Defendant.


                           ORDER GOVERNING PRIVILEGE LOGS

        This matter is before the Court on the parties’ joint request for entry of an order

governing privilege logs. Doc. 11. After a review of the record, the Court finds that good cause

to enter such an order exists. The Court, therefore, GRANTS the parties’ joint request, doc. 11,

and ORDERS that privilege logs shall be used as follows:

I.      Asserting Privilege or Protection. A party who withholds or redacts documents or

information contained within a document on the grounds of attorney-client privilege or work

product protection, or any other asserted privilege, shall provide:

        A.     A listing of such documents in electronic spreadsheet format providing the

        following objective metadata fields (“Objective metadata” does not include substantive

        content from, or a subjective description of, the document being withheld or redacted)

        where available:

               1.      the Bates number of the document (or unique document identifier);
Case 2:20-cv-00078-LGW-BWC Document 14 Filed 09/25/20 Page 2 of 4



          2.      the nature of the privilege asserted (“attorney-client privilege” or “attorney

                  work product”);

          3.      the name(s) of the author(s) of the document (if known or knowable) (for

                  email chains, because metadata only captures the author(s) of the most

                  recent email in the chain, all emails in the same chain will be listed

                  together in the log and the emails within the chain to which privilege is

                  asserted will state “attorney-client privilege” or “attorney work product”);

          4.      the name(s) of the recipient(s) of the document, including anyone who was

                  sent the document as a “CC” or a “BCC” (if known or knowable) (for

                  email chains, because metadata only captures the recipients of the most

                  recent email in the chain, all emails in the same chain will be listed

                  together in the log and the emails within the chain to which privilege is

                  asserted will state “attorney-client privilege” or “attorney work product”);

          5.      the document type, including, for example, whether the document is an

                  email, paper file, a spreadsheet, or other descriptive identifier of the

                  document type; and

          6.      the date the document was created (if known or knowable), sent (if

                  applicable), and last modified (if applicable).

   B.     The names of the individuals who are identified prior to providing the privilege

   log as being attorneys will be highlighted on the log. If it is discovered that names of

   other attorneys on the log were not highlighted, the opposing party will be notified with

   an offer to provide a replacement log. In addition to the preceding paragraph, the

   withholding or redacting party will also include the following information in its privilege




                                             2
  Case 2:20-cv-00078-LGW-BWC Document 14 Filed 09/25/20 Page 3 of 4



       log entries (provided the party remains willing to meet and confer further on specific

       documents after production of this privilege log):


        Document Type         From and to whom           Content

        Email                 from attorney to client    conveying legal advice

        Email Attach.         from client to attorney    requesting legal advice

        Memorandum            between attorneys          discussing legal advice

        Letter                between clients            discussing litigation

        Other Document        between client and         prepared in anticipation of/for
                              attorney                   litigation


       C.        As an alternative to the categories in the preceding paragraph, or where they do

       not apply, the withholding or redacting party may provide alternate individualized

       descriptions for such documents.

II.    Challenging Asserted Privilege and Protection. After receipt of such a privilege log,

any party may dispute a claim of privilege or protection; however, prior to any submission to the

Court for an in camera review, the party disputing a claim of privilege or protection shall

provide in writing the identification of the documents for which it questions the claim of

privilege or protection and the reasons (including legal support) for its assertion that the

documents are not privileged or protected. Within 30 days, the party seeking to support the

claim of privilege or protection shall provide a written response supporting the claim of privilege

or protection (including legal support). The parties will then meet and confer in good faith as to

the claims of privilege or protection. If agreement cannot be met after 15 business days, the

parties will, pursuant to § VII(B) of the Rule 26 Instruction Order governing this case, schedule a

telephonic conference with the Magistrate Judge in an attempt to resolve the challenge. If the


                                                   3
  Case 2:20-cv-00078-LGW-BWC Document 14 Filed 09/25/20 Page 4 of 4



dispute still cannot be resolved following conference with the Magistrate Judge, any party may

thereafter submit the material under seal to the Court for a determination as to privilege or

protection. If challenges are presented to the Court, the parties’ positions on those documents

will be affirmed by counsel pursuant to Rule 11. If a party believes the circumstances require

different timing or procedure, the parties shall meet and confer on alternatives to resolving any

disputes and if unable to agree may present the issue to the Court.

III.   Time for Providing Privilege Log. The producing party shall provide the information

required by paragraph “A” to the receiving party within 30 days of withholding or redacting the

related documents.

       SO ORDERED, this 25th day of September, 2020.




                                      ____________________________________
                                      BENJAMIN W. CHEESBRO
                                      UNITED STATES MAGISTRATE JUDGE
                                      SOUTHERN DISTRICT OF GEORGIA




                                                 4
